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                   UNITED STATES POSTAL INSPECTION SERVICE


                   MEMORANDUM OF INVESTIGATION

 Case #:               Program:       Type of Report or Investigation:                                                Activity Date:
 3520896               WPV            Interview                                                                       03.21.2022
 Inspector / WRN:                     Report Title:
 Guard / 7348                         03.21.2022 USSP - TAHERZADEH


                                                                         Interview Information
 Person Interviewed:                                                                                         Time of Interview:
 Arian TAHERZADEH                                                                                            2:37 PM
 Place of Interview:
 Phone
 Interviewed By:
 Guard




On March 21, 2022, at approximately 2:37 PM, Inspector Guard received a call from “US Special Police” 202-600-
4815. Inspector Guard called the business at approximately 12:12 PM today to inquire about Haider ALI’s
representation he was an investigator with USSP Special Investigations Unit.

Below is a summary of details obtained during a subject interview based on Inspector notes and recollection. This
summary is not intended to be transcription nor is it a record of every word spoken during the interview

A male on the line unintelligibly said his name and “I saw you called”. Inspector Guard believed the caller’s first name
to be Arian. Inspector Guard Introduced himself and asked who he was speaking with. The caller said, “Arian
TAHERZADEH with USSP”. Inspector Guard immediately recognized this name as the name provided by ALI as his
supervisor; HSI Special Agent Arian TAHERZADEH.

Inspector Guard asked for TAHERZADEH’s job title. TAHERZADEH said he is the owner, or original partner of USSP
Special Investigations Unit. TAHERZADEH described the company as a Special Police Officer (SPO) and Private
Detective (PD) agency that operates in MD, DC, and VA. TAHERZADEH said he is a licensed SPO and PD.
TAHERZADEH said he is in the process of closing the business down largely due to the struggles experienced
throughout the COVID-19 pandemic.

Inspector Guard asked TAHERZADEH if he knew ALI and if so, how did he know ALI. TAHERZADEH said he knew
ALI well and sponsored him to receive his PD license in DC.

Inspector Guard asked TAHERZADEH if he is or was previously a DHS or HSI Special Agent. TAHERZADEH
laughed and said, “NO. I run a SPO company that I’m about to close down. Why?” Inspector Guard informed
TAHERZADEH that ALI represented USSP as a part of DHS and represented TAHERZADEH as a HSI Special Agent.

Inspector Guard asked TAHERZADEH if he or USSP holds any contracts with DHS. TAHERZADEH said, “NO”.
TAHERZADEH explained he previously bid on contracts for background investigation work with DC City Homeland
Security Division but has never held a federal DHS contract.




CASE #             PROGRAM INSPECTOR / WRN                                                       SIGNATURE                             MOI DATE
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TAHERZADEH said he has no idea why ALI would have represented him to be a HSI Special Agent. TAHERZADEH
said, as ALI’s PD sponsor, he would take ALI’s PD license away. TAHERZADEH expressed concern to Inspector
Guard that this incident would affect his DC licenses and said he would handle the issue right away.

TAHERZADEH provided his personal cell number 202-304-3224, his date of birth is 12.06.1981, and his email
a.taherzadeh@ussp.us

Interview terminated at approximately 3:03 PM.




Arian Eugene TAHERZADEH
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Washington, DC 20003
DOB: 12/06/1981
FBI: 449590MB6
CELL: 202-304-3224
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